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UNITED STATES DISTRICT COURT
DISTRICT OF OREGON

 STATE OF OREGON et al.,
                                          Consolidated Civil Action Nos.
               Plaintiffs,                6:19-cv-00317-MC (Lead Case)
         v.                               6:19-cv-00318-MC

 ALEX M. AZAR II et al.,

               Defendants.                NOTICE

 AND

 AMERICAN MEDICAL ASSOCIATION
 et al.,

              Plaintiffs,

       v.

 ALEX M. AZAR II et al.,

              Defendants.
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         Defendants submit this notice to inform the Court that they have sent a copy of the

Administrative Record for the rule entitled Compliance with Statutory Program Integrity

Requirements, 84 Fed. Reg. 7714-01 (Mar. 4, 2019)—the rule Plaintiffs challenge in this action—

to counsel for the private plaintiffs and the State of Oregon.

         Defendants’ response to Plaintiffs’ Complaints is currently due July 19 and the Court has

not yet set a date for the filing of the Administrative Record. As Defendants have previously

noted, Defendants intend to ultimately seek a stay of proceedings pending appeal of this Court’s

preliminary injunction and Defendants further anticipate conferring with Plaintiffs concerning next

steps in this case. Among other things, Defendants expect that the parties will discuss how best to

provide the record to the Court at the time of any summary judgment briefing (including whether,

given the size of the record, to request modification of the requirements set forth in Local Rule 5-

2(e)).

Dated: June 24, 2019                          Respectfully submitted,

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